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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   4:05CR3143
                              )
          v.                  )
                              )
LISA McGINN,                  )                        ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on the report and

recommendation of the magistrate judge (Filing No. 36),

recommending that defendant’s motion to dismiss (Filing No. 24)

be denied.   Pursuant to 28 U.S.C. § 636(b)(1)(A), the Court has

reviewed said report and recommendation.              The Court also notes no

objections have been filed and finds the report and

recommendation should be approved and adopted.              Accordingly,

           IT IS ORDERED:

           1) The report and recommendation of the magistrate

judge is approved and adopted.

           2) Defendant’s motion to dismiss is denied.

           3) Trial of this matter is scheduled for:

                Monday, June 19, 2006, at 9 a.m.

Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska, or as soon thereafter as may

be called by the Court.      The ends of justice will be served by

continuing this case and outweigh the interests of the public and
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the defendant in a speedy trial.        The additional time between May

17, 2006, and June 19, 2006, shall be deemed excludable time in

any computation of time under the requirement of the Speedy Trial

Act.   18 U.S.C. § 3161(h)(8)(A) & (B).

           DATED this 17th day of May, 2006.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
